Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 1 of 17 Page ID #:354




   1 BRANDON S. REIF (State Bar No. 214706)
     breif@reiflawgroup.com
   2
     JUSTIN S. KIM (State Bar No. 234012)
   3 jkim@reiflawgroup.com
     REIF LAW GROUP, P.C.
   4
     1925 Century Park East, Suite 1700
   5 Los Angeles, CA 90067
     Tel: (310) 494-6500
   6
   7 CAROLYN HOECKER LUEDTKE (State Bar No. 207976)
     carolyn.luedtke@mto.com
   8
     LAUREN C. BARNETT (State Bar No. 304301)
   9 lauren.barnett@mto.com
     MUNGER, TOLLES & OLSON, LLP
  10
     560 Mission Street, 27th Floor
  11 San Francisco, CA 94105
     Tel: (415) 512-4027
  12
     Fax: (415) 512-4077
  13
     Attorneys for Defendant TEN-X, LLC
  14
  15
                                UNITED STATES DISTRICT COURT
  16
              CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  17
  18
       BRUCE FELT,                                Case No. 8:17-CV-02166-AG-JDE
  19
                   Plaintiff,                     Assigned to: Hon. Andrew J. Guilford
  20
            vs.                                   Ctrm: 10D
  21
       TEN-X, LLC, fka AUCTION.COM,               DEFENDANT TEN-X, LLC’S
  22
       LLC,                                       AMENDED ANSWER AND
  23                                              AFFIRMATIVE DEFENSES TO
                   Defendant.                     PLAINTIFF’S FIRST AMENDED
  24
                                                  COMPLAINT
  25
  26
  27
  28
                                                                         8:17-CV-02166-AG-JDE
       DEFENDANT TEN-X, LLC’S ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 2 of 17 Page ID #:355




   1         Defendant Ten-X, LLC (“the Company” or “Defendant”), by and through its
   2 attorneys of record, submits its Amended Answer and Affirmative Defenses
   3 (“Answer”) to the First Amended Complaint (“FAC”) filed by Plaintiff Bruce Felt
   4 (“Plaintiff”).
   5         Defendant expressly reserves the right to amend its Answer, or seek leave to
   6 amend its Answer, and to modify and/or assert additional claims, defenses,
   7 counterclaims and third-party claims permitted by law. Except for the specific
   8 admissions interposed below, Defendant denies generally and specifically each and
   9 every other allegation in the FAC, including all purported claims; denies that
  10 Plaintiff is entitled to any equitable or legal relief, or to any damages whatsoever;
  11 and further denies that Plaintiff has sustained any loss, injury or damage as the
  12 proximate result of any act, breach or omission on the part of Defendant.
  13         Defendant states on information and belief as follows:
  14                                         Introduction 1
  15         1.       Defendant admits that Plaintiff purports to bring this action asserting
  16 claims for violations of federal and state securities laws, breach of contract, and
  17 fraud against it. Defendant admits that Plaintiff alleges that the claims arise out of
  18 Defendant’s alleged issuance of unregistered securities, but Defendant denies that
  19 the securities are “unqualified” or “non-exempt” or otherwise in violation of the
  20 federal or California securities laws, or that it breached a contract or misrepresented
  21 the value of the securities. Defendant denies the remaining allegations in Paragraph
  22 1, including that it made any material omissions of fact, caused Plaintiff any
  23 resulting harm from his own decision not to exercise any of his vested stock options,
  24 and that such harm amounts to $4,561,784.
  25
  26   To the extent the headings and subheadings in the FAC are intended to constitute
       1

     factual allegations, Defendant lacks knowledge or information sufficient to form a
  27 belief as to the truth of any allegations in the FAC’s headings or subheadings and
  28 therefore denies those allegations.

                                               -1-                       8:17-CV-02166-AG-JDE
       DEFENDANT TEN-X, LLC’S ANSWER AND AFFIRMATIVE DEFENSES TO FIRST AMENDED COMPLAINT
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 3 of 17 Page ID #:356




   1                                         Parties
   2        2.     Defendant admits that Plaintiff is a natural person. Defendant lacks
   3 knowledge or information sufficient to form a belief as to the truth of the remaining
   4 allegations in Paragraph 2.
   5        3.     Defendant admits the allegations in Paragraph 3.
   6        4.     Stone Point Capital, LLC (“Stone Point”) was dismissed from this
   7 action pursuant to its Federal Rules of Civil Procedure Rule 12(b)(6) Motion.
   8 Because Plaintiff failed to timely amend his complaint, Stone Point is no longer a
   9 defendant in this action. Defendant admits that Stone Point is a limited liability
  10 company organized and existing pursuant to the laws of the State of Delaware and
  11 operates offices in New York City and Greenwich, Connecticut. Defendant denies
  12 the remaining allegations in Paragraph 4.
  13        5.     As with Stone Point, Peter Mundheim (“Mundheim”) was dismissed
  14 pursuant to his Federal Rules of Civil Procedure Rule 12(b)(6) Motion and is no
  15 longer a defendant in this action. Defendant admits that Mundheim is a Principal
  16 and Counsel at Stone Point and that during the relevant time period he was a
  17 member of the Company’s Board of Directors.
  18        6.     As with Stone Point, Agha S. Khan (“Khan”) was dismissed pursuant
  19 to his Federal Rules of Civil Procedure Rule 12(b)(6) Motion and is no longer a
  20 defendant in this action. Defendant admits the allegations in Paragraph 6.
  21                                Jurisdiction and Venue
  22        7.     Paragraph 7 contains conclusions of law to which no response is
  23 required. To the extent Paragraph 7 contains factual allegations to which a response
  24 is required, such allegations are admitted.
  25        8.     Paragraph 8 contains conclusions of law to which no response is
  26 required. To the extent Paragraph 8 contains factual allegations to which a response
  27 is required, such allegations are admitted.
  28

                                              -2-                      8:17-CV-02166-AG-JDE
             DEFENDANT TEN-X, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO FAC
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 4 of 17 Page ID #:357




   1         9.    Paragraph 9 contains conclusions of law to which no response is
   2 required. To the extent Paragraph 9 contains factual allegations to which a response
   3 is required, such allegations are admitted.
   4         10.   Paragraph 10 contains conclusions of law to which no response is
   5 required. To the extent Paragraph 10 contains factual allegations to which a
   6 response is required, such allegations are admitted.
   7         11.   Mundheim was dismissed pursuant to his Federal Rules of Civil
   8 Procedure Rule 12(b)(6) Motion and is no longer a defendant in this action.
   9 Paragraph 11 contains conclusions of law to which no response is required. To the
  10 extent Paragraph 11 contains factual allegations to which a response is required,
  11 Defendant lacks knowledge or information sufficient to form a belief as to the truth
  12 of the allegations in Paragraph 11, and on that basis, denies the allegations.
  13         12.   Khan was dismissed pursuant to his Federal Rules of Civil Procedure
  14 Rule 12(b)(6) Motion and is no longer a defendant in this action. Paragraph 12
  15 contains conclusions of law to which no response is required. To the extent
  16 Paragraph 12 contains factual allegations to which a response is required, Defendant
  17 lacks knowledge or information sufficient to form a belief as to the truth of the
  18 allegations in Paragraph 12, and on that basis, denies the allegations.
  19         13.   Stone Point was dismissed pursuant to its Federal Rules of Civil
  20 Procedure Rule 12(b)(6) Motion and is no longer a defendant in this action.
  21 Paragraph 13 contains conclusions of law to which no response is required. To the
  22 extent Paragraph 13 contains factual allegations to which a response is required,
  23 Defendant lacks knowledge or information sufficient to form a belief as to the truth
  24 of the allegations in Paragraph 13, and on that basis, denies the allegations.
  25                                   Factual Allegations
  26         14.   Defendant admits the allegations in Paragraph 14 describing part of its
  27 business in online real estate sales.
  28         15.   Defendant admits the allegations in Paragraph 15.

                                              -3-                      8:17-CV-02166-AG-JDE
             DEFENDANT TEN-X, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO FAC
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 5 of 17 Page ID #:358




   1        16.    Defendant admits that on or about April 29, 2014, Plaintiff and the
   2 Company entered into a Confidential Transition and Separation Agreement and
   3 Release (“Agreement”) and that Plaintiff continued to be employed with the
   4 Company until June 6, 2014. Defendant denies the remaining allegations in
   5 Paragraph 16.
   6        17.    Defendant admits the allegations in Paragraph 17.
   7        18.    Defendant admits the allegations in Paragraph 18 that Plaintiff had
   8 vested stock options to purchase 808,827 units at the time his employment ended.
   9 Defendant denies the remaining allegations in Paragraph 18.
  10        19.    Defendant admits the allegations in Paragraph 19.
  11        20.    Paragraph 20 contains conclusions of law to which no response is
  12 required. To the extent Paragraph 20 contains factual allegations to which a
  13 response is required, such allegations are admitted.
  14        21.    Paragraph 21 contains conclusions of law to which no response is
  15 required. To the extent Paragraph 21 contains factual allegations to which a
  16 response is required, such allegations are admitted.
  17        22.    Paragraph 22 contains conclusions of law to which no response is
  18 required. To the extent Paragraph 22 contains factual allegations to which a
  19 response is required, such allegations are admitted.
  20        23.    Defendant admits the allegations in Paragraph 23.
  21        24.    Defendant admits the allegations in Paragraph 24.
  22        25.    Defendant denies the allegations in Paragraph 25.
  23        26.    Defendant denies the allegations in Paragraph 26.
  24        27.    Defendant denies the allegations in Paragraph 27.
  25        28.    Defendant denies the allegations in Paragraph 28.
  26        29.    Defendant denies the allegations in Paragraph 29.
  27        30.    Defendant denies the allegations in Paragraph 30.
  28

                                              -4-                      8:17-CV-02166-AG-JDE
             DEFENDANT TEN-X, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO FAC
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 6 of 17 Page ID #:359




   1         31.    Defendant lacks knowledge or information sufficient to form a belief as
   2 to the truth of the allegations in Paragraph 31, and on that basis, denies the
   3 allegations.
   4         32.    Defendant admits that the Company engaged a third-party valuation
   5 firm to prepare on a periodic basis a valuation of its shares pursuant to Section 409A
   6 of the Internal Revenue Code. Defendant denies the remaining allegations in
   7 Paragraph 32.
   8         33.    Defendant denies the allegations in paragraph 33.
   9         34.    Defendant denies the allegations in Paragraph 34.
  10         35.    Defendant admits that it was formerly known as Auction.com and that
  11 it sent Plaintiff a Confidential Disclosure Statement (the “2015 Statement”) on or
  12 about June 24, 2015. Defendant denies the remaining allegations in Paragraph 35.
  13         36.    Defendant denies the allegations in Paragraph 36.
  14         37.    Defendant lacks knowledge or information sufficient to form a belief as
  15 to the truth of the allegations in Paragraph 37, and on that basis, denies the
  16 allegations.
  17         38.    Defendant denies the allegations in Paragraph 38.
  18         39.    Defendant denies the allegations in Paragraph 39.
  19         40.    Defendant denies that David Thompson was the Company’s Chief
  20 Marketing Officer for the time period shortly before Plaintiff’s options expired.
  21 Defendant lacks knowledge or information sufficient to form a belief as to the truth
  22 of the remaining allegations in Paragraph 40, and on that basis, denies the remaining
  23 allegations.
  24         41.    Defendant denies that Mr. Thompson was acting on behalf of the
  25 Company. Defendant lacks knowledge or information sufficient to form a belief as
  26 to the truth of the remaining allegations in Paragraph 41, and on that basis, denies
  27 the remaining allegations.
  28

                                              -5-                      8:17-CV-02166-AG-JDE
             DEFENDANT TEN-X, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO FAC
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 7 of 17 Page ID #:360




   1        42.    Defendant admits that Plaintiff did not exercise his options to purchase
   2 any common units before the expiration of his exercise period. Defendant lacks
   3 knowledge or information sufficient to form a belief as to the truth of the remaining
   4 allegations in Paragraph 42, and on that basis, denies the remaining allegations.
   5        43.    Defendant admits that on or about August 2, 2017, the Company
   6 announced that Thomas H. Lee Partners (“THL”) had entered into an agreement to
   7 purchase a controlling interest in the Company. Defendant denies the remaining
   8 allegations in Paragraph 43.
   9        44.    Defendant denies the allegations in Paragraph 44.
  10        45.    Defendant denies the allegations in Paragraph 45.
  11        46.    Defendant denies the allegations in Paragraph 46.
  12        47.    Defendant denies that the price per common unit paid for by THL
  13 under the agreement announced on August 2, 2017 was $10.40. Defendant lacks
  14 knowledge or information sufficient to form a belief as to the truth of the remaining
  15 allegations in Paragraph 47, and on that basis, denies the remaining allegations.
  16        48.    Defendant denies the allegations in Paragraph 48.
  17        49.    Defendant denies the allegations in Paragraph 49.
  18        50.    Defendant admits that Plaintiff did not exercise his options to purchase
  19 any common units before the expiration of the exercise period. Defendant denies
  20 the remaining allegations in Paragraph 50.
  21        51.    Defendant admits that during the exercise period for Plaintiff’s options,
  22 the Company did not file any periodic reports with the SEC. Defendant denies the
  23 remaining allegations in Paragraph 51.
  24        52.    Defendant denies that the Company did not deliver to Plaintiff the
  25 financial information required by state and Federal securities laws. Defendant lacks
  26 knowledge or information sufficient to form a belief as to the truth of the remaining
  27 allegations in Paragraph 52, and on that basis, denies the remaining allegations.
  28        53.    Defendant denies the allegations in Paragraph 53.

                                              -6-                      8:17-CV-02166-AG-JDE
             DEFENDANT TEN-X, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO FAC
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 8 of 17 Page ID #:361




   1         54.    Defendant lacks knowledge or information sufficient to form a belief as
   2 to the truth of the allegations in Paragraph 54, and on that basis, denies the
   3 remaining allegations.
   4         55.    Defendant denies the allegations in Paragraph 55.
   5         56.    Defendant denies the allegations in Paragraph 56.
   6         57.    Defendant denies the allegations in Paragraph 57.
   7         58.    Defendant admits the allegations in Paragraph 58.
   8         59.    Defendant denies the allegations in Paragraph 59.
   9         60.    Defendant denies the allegations in Paragraph 60.
  10         61.    Defendant lacks knowledge or information sufficient to form a belief as
  11 to the truth of the allegations in Paragraph 61, and on that basis, denies the
  12 allegations.
  13         62.    Defendant denies the allegations in Paragraph 62.
  14         63.    Defendant denies the allegations in Paragraph 63.
  15                    Count One—Federal Securities Law Violations
  16         64.    Defendant incorporates by reference the admissions, denials, and
  17 averments set forth above in answer to the preceding paragraphs of the First
  18 Amended Complaint as if fully set forth herein.
  19         65.    Paragraph 65 contains conclusions of law to which no response is
  20 required. To the extent Paragraph 65 contains factual allegations to which a
  21 response is required, such allegations are denied.
  22         66.    Paragraph 66 contains conclusions of law to which no response is
  23 required. To the extent Paragraph 66 contains factual allegations to which a
  24 response is required, such allegations are denied.
  25         67.    Paragraph 67 contains conclusions of law to which no response is
  26 required. To the extent Paragraph 67 contains factual allegations to which a
  27 response is required, such allegations are denied.
  28

                                              -7-                      8:17-CV-02166-AG-JDE
             DEFENDANT TEN-X, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO FAC
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 9 of 17 Page ID #:362




   1         68.    Paragraph 68 contains conclusions of law to which no response is
   2 required. To the extent Paragraph 68 contains factual allegations to which a
   3 response is required, such allegations are denied.
   4         69.    Paragraph 69 contains conclusions of law to which no response is
   5 required. To the extent Paragraph 69 contains factual allegations to which a
   6 response is required, such allegations are denied.
   7         70.    Paragraph 70 contains conclusions of law to which no response is
   8 required. To the extent Paragraph 70 contains factual allegations to which a
   9 response is required, such allegations are denied.
  10         71.    Paragraph 71 contains conclusions of law to which no response is
  11 required. To the extent Paragraph 71 contains factual allegations to which a
  12 response is required, such allegations are denied.
  13         72.    Defendant admits the allegations in Paragraph 72 but denies the
  14 allegations to the extent they purport to assert that there is a basis in fact or law for
  15 Plaintiff’s claims.
  16         73.    Defendant lacks knowledge or information sufficient to form a belief as
  17 to the truth of the allegations in Paragraph 73, and on that basis, denies the
  18 allegations.
  19         74.    Defendant admits the allegations in Paragraph 74 but denies the
  20 allegations to the extent they purport to assert that there is a basis in fact or law for
  21 Plaintiff’s claims.
  22         75.    Paragraph 75 contains conclusions of law to which no response is
  23 required. To the extent Paragraph 75 contains factual allegations to which a
  24 response is required, such allegations are denied.
  25         76.    Paragraph 76 contains conclusions of law to which no response is
  26 required. To the extent Paragraph 76 contains factual allegations to which a
  27 response is required, such allegations are denied.
  28

                                              -8-                      8:17-CV-02166-AG-JDE
             DEFENDANT TEN-X, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO FAC
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 10 of 17 Page ID #:363




   1        77.    Paragraph 77 contains conclusions of law to which no response is
   2 required. To the extent Paragraph 77 contains factual allegations to which a
   3 response is required, such allegations are denied.
   4        78.    Paragraph 78 contains conclusions of law to which no response is
   5 required. To the extent Paragraph 78 contains factual allegations to which a
   6 response is required, such allegations are denied.
   7        79.    Defendant denies the allegations in Paragraph 79.
   8        80.    Defendant lacks knowledge or information sufficient to form a belief as
   9 to the truth of the allegations in Paragraph 80 regarding whether Plaintiff would
  10 have exercised his options, and on that basis, denies the allegations. Defendant
  11 denies the remaining allegations in Paragraph 80.
  12        81.    Defendant denies the allegations in Paragraph 81.
  13                  Count Two—California Securities Law Violations
  14        82.    Defendant incorporates by reference the admissions, denials, and
  15 averments set forth above in answer to the preceding paragraphs of the First
  16 Amended Complaint as if fully set forth herein.
  17        83.    Paragraph 83 contains conclusions of law to which no response is
  18 required. To the extent Paragraph 83 contains factual allegations to which a
  19 response is required, such allegations are denied.
  20        84.    Paragraph 84 contains conclusions of law to which no response is
  21 required. To the extent Paragraph 84 contains factual allegations to which a
  22 response is required, such allegations are denied.
  23        85.    Paragraph 85 contains conclusions of law to which no response is
  24 required. To the extent Paragraph 85 contains factual allegations to which a
  25 response is required, such allegations are denied.
  26        86.    Paragraph 86 contains conclusions of law to which no response is
  27 required. To the extent Paragraph 86 contains factual allegations to which a
  28 response is required, such allegations are denied.

                                              -9-                      8:17-CV-02166-AG-JDE
             DEFENDANT TEN-X, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO FAC
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 11 of 17 Page ID #:364




   1        87.    Paragraph 87 contains conclusions of law to which no response is
   2 required. To the extent Paragraph 87 contains factual allegations to which a
   3 response is required, such allegations are denied.
   4        88.    Paragraph 88 contains conclusions of law to which no response is
   5 required. To the extent Paragraph 88 contains factual allegations to which a
   6 response is required, such allegations are denied.
   7        89.    Defendant denies the allegations in Paragraph 89.
   8        90.    Defendant denies the allegations in Paragraph 90.
   9        91.    Defendant denies the allegations in Paragraph 91.
  10                          Count Three—Breach of Contract
  11        92.    Defendant incorporates by reference the admissions, denials, and
  12 averments set forth above in answer to the preceding paragraphs of the First
  13 Amended Complaint as if fully set forth herein.
  14        93.    Paragraph 93 contains conclusions of law to which no response is
  15 required. To the extent Paragraph 93 contains factual allegations to which a
  16 response is required, such allegations are denied.
  17        94.    Defendant denies the allegations in Paragraph 94.
  18        95.    Defendant denies the allegations in Paragraph 95.
  19                                 Count Four—Fraud
  20        96.    Defendant incorporates by reference the admissions, denials, and
  21 averments set forth above in answer to the preceding paragraphs of the First
  22 Amended Complaint as if fully set forth herein.
  23        97.    Defendant denies the allegations in Paragraph 97.
  24        98.    Paragraph 98 contains conclusions of law to which no response is
  25 required. To the extent Paragraph 98 contains factual allegations to which a
  26 response is required, such allegations are denied.
  27        99.    Defendant denies the allegations in Paragraph 99.
  28

                                              -10-                     8:17-CV-02166-AG-JDE
             DEFENDANT TEN-X, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO FAC
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 12 of 17 Page ID #:365




   1        100. Paragraph 100 contains conclusions of law to which no response is
   2 required. To the extent Paragraph 100 contains factual allegations to which a
   3 response is required, such allegations are denied.
   4        101. Paragraph 101 contains conclusions of law to which no response is
   5 required. To the extent Paragraph 101 contains factual allegations to which a
   6 response is required, such allegations are denied.
   7        102. Defendant denies the allegations in Paragraph 102.
   8        103. Defendant denies the allegations in Paragraph 103.
   9        104. Defendant denies the allegations in Paragraph 104.
  10        105. Defendant denies the allegations in Paragraph 105.
  11        106. Paragraph 106 contains conclusions of law to which no response is
  12 required. To the extent Paragraph 106 contains factual allegations to which a
  13 response is required, such allegations are denied.
  14        107. Defendant denies the allegations in Paragraph 107.
  15        108. Paragraph 108 contains conclusions of law to which no response is
  16 required. To the extent Paragraph 108 contains factual allegations to which a
  17 response is required, such allegations are denied.
  18        109. Defendant denies the allegations in Paragraph 109.
  19                       Count Five—Breach of Fiduciary Duty
  20        110 - 122.   The breach of fiduciary claim was dismissed by the Court
  21 pursuant to the Individual Defendants’ Federal Rules of Civil Procedure Rule
  22 12(b)(6) motion.
  23                            AFFIRMATIVE DEFENSES
  24        Without assuming any burden of proof that would otherwise rest on Plaintiff,
  25 Defendant pleads the following affirmative defenses:
  26
  27
  28

                                              -11-                     8:17-CV-02166-AG-JDE
             DEFENDANT TEN-X, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO FAC
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 13 of 17 Page ID #:366




   1                                First Affirmative Defense
   2         Plaintiff has no right or standing to assert its claims against Defendant, which
   3 did not issue the options, did not furnish the valuation disclosures and could not
   4 execute Plaintiff’s request, if any, to exercise the options.
   5                               Second Affirmative Defense
   6         Plaintiff knew or should have known of Defendant’s financial condition and
   7 the risks associated with Defendant’s business during the exercise period for his
   8 options, and Plaintiff assumed the risk that the value of the Defendant’s common
   9 units could fluctuate during and after the exercise period.
  10                                Third Affirmative Defense
  11         Plaintiff neglected to exercise his options, and thus his rights to exercise his
  12 vested options expired pursuant to his Agreement with the Company.
  13                               Fourth Affirmative Defense
  14         Plaintiff has failed to mitigate any damages he may have suffered.
  15                                Fifth Affirmative Defense
  16         Under principles of contribution and indemnity, persons or entities other than
  17 Defendant are wholly or partially responsible for the purported damages, if any,
  18 Plaintiff has sustained.
  19                                Sixth Affirmative Defense
  20         Any recovery for damages allegedly incurred by Plaintiff, if any, is limited to
  21 the percentage of responsibility of Defendant in proportion to the total fault of all
  22 persons, whether or not named as parties to this action, who caused or contributed to
  23 Plaintiff’s alleged damages, if any, pursuant to the proportionate liability provisions
  24 of the Private Securities Litigation Reform Act of 1995 (“PLSRA”), as codified at
  25 15 U.S.C. § 78u-4(f)(3)(A).
  26                               Seventh Affirmative Defense
  27         Plaintiff’s claims, in whole or in part, are not actionable to the extent that the
  28 alleged untrue statements of material fact, omissions of material fact, misleading

                                              -12-                     8:17-CV-02166-AG-JDE
             DEFENDANT TEN-X, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO FAC
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 14 of 17 Page ID #:367




   1 statements and/or other challenged statements made by Defendant fall within the
   2 Safe Harbor provisions of the PSLRA, as codified at 15 U.S.C. § 77z-2(c).
   3                               Eighth Affirmative Defense
   4         Plaintiff’s claims, in whole or in part, are not actionable under the bespeaks
   5 caution doctrine because Defendant’s alleged untrue or misleading forward-looking
   6 statements must be considered in the proper context in which they were made.
   7                                Ninth Affirmative Defense
   8         Plaintiff’s claims fail, in whole or in part, because Defendant acted in good
   9 faith at all times.
  10                               Tenth Affirmative Defense
  11         Plaintiff’s claims are barred, in whole or in part, by the doctrines of estoppel,
  12 release, and/or waiver.
  13                              Eleventh Affirmative Defense
  14         Plaintiff’s claims are barred or limited, in whole or in part, by his own
  15 inequitable conduct, which constitutes unclean hands.
  16                              Twelfth Affirmative Defense
  17         Plaintiff’s claim for breach of contract is barred because Plaintiff was the
  18 party who committed the initial, material breach of such contract.
  19                             Thirteenth Affirmative Defense
  20         Plaintiff failed to satisfy a condition precedent under the contract, and thus
  21 Defendant had no obligation to perform under the contract.
  22
  23         Defendant has insufficient knowledge or information on which to form a
  24 belief as to whether there may be additional affirmative defenses available to it.
  25 Defendant expressly reserves the right to plead additional affirmative and other
  26 defenses that may become available or apparent during this litigation.
  27
  28         WHEREFORE, Defendant respectfully requests as follows:

                                              -13-                     8:17-CV-02166-AG-JDE
             DEFENDANT TEN-X, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO FAC
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 15 of 17 Page ID #:368




   1         1. That judgment be entered in favor of Defendant;
   2         2. That Plaintiff take nothing from Defendant by his FAC, and that it be
   3            dismissed with prejudice;
   4         3. That Defendant be awarded the costs of defending this action, including
   5            reasonable attorneys’ fees, costs and disbursements; and
   6         4. For such other and further relief as this Court deems just and proper.
   7
   8 DATED: February 14, 2019               REIF LAW GROUP, P.C.
                                                BRANDON S. REIF
   9
                                                JUSTIN S. KIM
  10
  11
  12                                        By:        /s/ Brandon S. Reif
  13                                                   BRANDON S. REIF
                                                       Attorneys for TEN-X, LLC
  14
  15
       DATED: February 14, 2019             MUNGER, TOLLES & OLSON LLP
  16                                          CAROLYN H. LUEDTKE
                                              LAUREN C. BARNETT
  17
  18
  19
                                            By:        /s/ Carolyn H. Luedtke
  20                                                   CAROLYN H. LUEDTKE
  21                                                   Attorneys for TEN-X, LLC
  22
  23
  24 Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), the filing attorney certifies that all
     other signatories listed, and on whose behalf this filing is submitted, concur in this
  25 filing’s content and have authorized its filing.
  26
  27
  28

                                              -14-                     8:17-CV-02166-AG-JDE
             DEFENDANT TEN-X, LLC’S AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO FAC
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 16 of 17 Page ID #:369




   1                                 FELT v. TEN-X LLC
                              USDC Case No. 8:17-CV-02166-AG-JDE
   2
   3                                    PROOF OF SERVICE

   4   I, CIAN WILLIAMS, declare:
   5
       I am employed in the County of Los Angeles, state of California. I am over the age
   6
   7 of 18 and not a party to the within action. My business address is 1925 Century Park
   8 East, Suite 1700, California 90067.
   9
            On February 14, 2019, I served a copy of the following document.
  10
  11 By electronically filing the foregoing document with the Clerk of the United States
  12 District Court, Central District, using its ECF system, which electronically notifies
  13
     the person on the attached service list at the email addresses registered with the ECF
  14
  15 System.
  16            I declare under the law of the United States of America that the foregoing
  17
       information contained in the Proof of Service is true and correct.
  18
  19            I declare that I am employed in the office of a member of the bar of this court
  20 at whose direction the service was made.
  21
           Executed on February 14, 2019 at Los Angeles, California.
  22
  23
                                                               ___________________
  24                                                           CIAN WILLIAMS
  25
  26
  27
  28
       41168808.1                                  1                   Case No. 8:17-CV-02166-AG-JDE
                                            PROOF OF SERVICE
Case 8:17-cv-02166-AG-JDE Document 54 Filed 02/14/19 Page 17 of 17 Page ID #:370




   1
                                FELT v. TEN-X LLC
   2                     USDC Case No. 8:17-CV-02166-AG-JDE
   3                                 SERVICE LIST
   4
   5 RICHARD GRIMM
     Steven M. Oster
   6 The Alameda, Suite 200 Santa Clara, CA 95050
     Telephone: (650) 248-5487
   7 Facsimile: (650) 618-9856
     Attorney for Plaintiff
   8
   9 Email: richard@richardgrimm.com
     Attorney for Plaintiff
  10 Carolyn Hoecker Luedtke (SBN 207976)
     Lauren C. Barnett (SBN 1304301)
  11 MUNGER      TOLLES & OLSON, LLP 560 Mission Street,
     27th Floor San Francisco, CA 94105
  12 Telephone: (415) 512-4027 Facsimile: (415) 512-4077
     Email: Carolyn.Luedtke@mto.com
  13 Lauren.Barnett@mto.com
     Attorneys for Defendants
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
       41168808.1                            2                Case No. 8:17-CV-02166-AG-JDE
                                      PROOF OF SERVICE
